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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :

       v.                                     : CRIMINAL NO. 21-418

ERIC BOCHENE                                  :


                   GOVERNMENT=S RESPONSE TO DEFENDANT’S
                  MOTION TO DISMISS - NOTICE OF SUBROGRATION

       Defendant Eric Bochene is proceeding pro se and in his Motion to Dismiss - Notice of

Subrogation (ECF No. 43) has again filed a frivolous and unintelligible motion. Because the

government believes this Court has a full understanding of the charges in this case, we will not

recount the charges in this case and the facts leading to those charges that have been previously

delineated in other pleadings previously filed in this case.

       For the reasons that follow, the government respectfully requests that Court deny the

defendant’s Motion.

       1.       Defendant Bochene seeks to act as caretaker of the “Public Charitable Trust as

Creditor, Payor, Consigner with access to my Co-Tenant Trust.”

       2.       In his Motion, the defendant references “Equity and with Notice of Repentance

and Prayer for Equitable Relief.”

       3.       The defendant states, “I hereby notice the Court and prosecutor, that they are

hereby now appointed as trustee(s) of the Constructive Trusts and this Taxable Event to settle

and set off any claims brought forth by the prosecutor.”

       4.       The defendant states that to ensure compliance with 18 U.S.C. § 215, he demands

the “full disclosure of any securities and the filing of any 1099s the court parties may owe to the
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IRS for their taxable events on the securities being created, when utilizing the referenced estate

property which I am beneficiary of.”

        5.       Additionally, the defendant demands “disclosure of any bonds and securities

brought by the prosecutor’s (or plaintiff) bond, and insurance claim information . . . [and the]

production of any contracts which provide evidence of a known duty.”

        6.       Finally, the defendant provides notice of a bill of damages at a rate of $100,000

USD per day.

        7.       In the context of this criminal case, which charges the defendant with violating

provisions of Title 18, United States Code, Section 1752 and Title 40, United States Code,

Section 5104, the government fails to appreciate and/or find relevant the posture that the

defendant seeks to assume. Regardless, he has failed to state a colorable argument in relation to

the subject case.

        8.       The defendant’s only reference to a criminal statute is 18 U.S.C. § 215, which

addresses the receipt of commissions or gifts for procuring loans. This statute is inapplicable to

this case.

        9.       The defendant’s reference to subrogation is also misapplied. Simply put,

subrogation is the assumption by a third party of another party’s legal right to collect a debt or

damages; substituting one creditor for another or taking over another’s right to sue. There is no

issue of subrogation in this case.

        10.      Because the defendant has failed to state either a factual or legal argument, based

on a recognized principle, or make any other cognizable claim based on the statutes at issue or




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any legal precedent, the government respectfully requests that the defendant’s Motion to Dismiss

be DENIED.

                                     Respectfully submitted,

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